      Case 4:23-cv-04155-YGR Document 163-1 Filed 02/19/24 Page 1 of 4




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17                               UNITED STATES DISTRICT COURT

18                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

19
20 CALIFORNIA COALITION FOR WOMEN                    Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
21                                                   DECLARATION OF AMARIS
                   Plaintiffs,                       MONTES IN SUPPORT OF
22                                                   PLAINTIFFS’ RESPONSE TO
            v.                                       UNITED STATES’ RESPONSE TO
23                                                   ORDER TO SHOW CAUSE
   UNITED STATES OF AMERICA FEDERAL
24 BUREAU OF PRISONS et al.,                         Judge:   Hon. Yvonne Gonzalez Rogers

25                 Defendants.                       Trial Date:         None Set

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                                                                   Case No. 4:23-cv-04155-YGR
     Montes Declaration
      Case 4:23-cv-04155-YGR Document 163-1 Filed 02/19/24 Page 2 of 4




 1          I, Amaris Montes, hereby declare as follows:

 2          1.        I am an attorney admitted to practice law in the state of Maryland and am counsel
 3 for Plaintiffs in the above captioned matter.
 4
            2.        I submit this declaration in support of Plaintiff’s Response to United States’
 5
     Response to the Court’s Order To Show Cause, ECF No. 155. I have personal knowledge of the
 6
     facts stated herein and, if called as a witness, could and would testify competently thereto.
 7
 8          3.        On February 1, 2024, I learned that R.F. was placed in the Special Housing Unit

 9 (“SHU”) through my co-counsel at Rosen Bien Galvan & Grunfeld who was contacted by R.F.
10 after her placement in the SHU.
11
            4.        On February 2, 2024, I emailed counsel for the Bureau of Prisons (“BOP”), Robert
12
     France and Assistant U.S. Attorneys Madison Mattioli and Abbie Cziok, about our concerns
13
     regarding placing R.F in the SHU. ECF No. 160-2 at 4-5.
14
15          5.        On February 5, 2024, I emailed counsel for BOP again because we did not receive

16 a response to our previous email. ECF No. 160-2 at 3-4.
17          6.        On February 8, 2024, Robert France informed us that R.F. was transferred to
18 Metropolitan Detention Center in Los Angeles (“MDC”). ECF No. 160-2 at 1-3.
19
            7.        Counsel for Plaintiffs was never informed about her potential transfer prior to this
20
     email notification after she was transferred.
21
            8.        On February 9, I contacted MDC to schedule a visit with R.F in order to obtain
22
23 more information about her transfer.
24          9.        On February 15, 2024, I met with R.F. at MDC.

25          10.       During our conversation, we discussed the circumstances of how R.F. came to be
26 transferred to MDC. She informed me of the following facts:
27
                     On January 26, 2024, R.F. observed that FCI Dublin officers were visibly upset
28

                                                        2                   Case No. 4:23-cv-04155-YGR
     Montes Declaration
      Case 4:23-cv-04155-YGR Document 163-1 Filed 02/19/24 Page 3 of 4




 1                 after the status conference in this matter that had been held the same day.

 2                On January 31, 2024, R.F. was placed in the SHU at the direction of Lt. Bauddizon
 3
                   because R.F. was told she was “under investigation”; but she was not provided any
 4
                   information about what this investigation was for, nor asked any questions
 5
                   regarding any related incident. She was not immediately given a disciplinary
 6
                   incident report informing her about why she was placed in the SHU.
 7
 8                At some point after she was placed in SHU, R.F. was given a 200 series shot

 9                 because two screws had allegedly been found in her cell.
10                R.F. was kept in the SHU for seven days.
11
                  R.F.’s SHU cell was cold, had at least a centimeter of water on the floor at all
12
                   times, had mold on the walls, and contained human filth from the previous
13
                   detainee.
14
15                R.F. was not given any cleaning or personal hygiene supplies in the SHU.

16                R.F. initiated a hunger strike immediately upon arrival in the SHU.
17
                  The next day, nine other detainees in the SHU independently commenced their
18
                   own hunger strikes to protest the fact that they were not given disciplinary incident
19
                   report paper work after weeks of being in the SHU, were not provided the ability to
20
21                 see a disciplinary hearing officer, and lacked basic hygiene and cleaning supplies.

22                During the hunger strike Nurse Werne provided Ensure® shakes to the SHU

23                 hunger striking detainees. On February 5, 2024, Monte Wilson removed the
24                 Ensure® shakes from the SHU and threatened the hunger striking detainees with
25
                   disciplinaries for demonstrating.
26
                  No warden visited the SHU during R.F.’s confinement in the SHU, despite BOP
27
                   policies requiring the warden to observe individuals on hunger strike.
28

                                                       3                  Case No. 4:23-cv-04155-YGR
     Montes Declaration
      Case 4:23-cv-04155-YGR Document 163-1 Filed 02/19/24 Page 4 of 4




 1                On February 6, 2024, R.F. was transferred to MDC. At MDC, R.F. understood that

 2                 Officer Cuevas expunged the aforementioned shot that R.F. was given for the
 3
                   screws for lack of evidence.
 4
                  Although R.F. believes she should be sent to home confinement consistent with her
 5
                   qualification for that status, she did not wish to be transferred to MDC and would
 6
 7                 prefer to be sent back to FCI Dublin rather than stay in MDC.

 8
 9          I declare under penalty of perjury under the laws of the United States of America that the

10 foregoing is true and correct.
11          Executed on February 18, 2024, in Los Angeles, CA.

12                                                  /s/ Amaris Montes
                                                    Amaris Montes
13
14
15          Pursuant to Civil L.R. 5-1(i)(3), I attest that concurrence in the submission of this
16 document has been obtained from the other signatory.
17    Dated: February 18, 2024                      /s/ Stephen Cha-Kim
                                                    Stephen Cha-Kim
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                                                       4                   Case No. 4:23-cv-04155-YGR
     Montes Declaration
